                      Case 1:19-cv-00150-DLF Document 73 Filed 11/01/21 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                    District
                                              __________     of Columbia
                                                          District of __________


        Broidy Capital Management, LLC, et al.,                )
                             Plaintiff                         )
                                v.                             )      Case No.     1:19-cv-00150-DLF
                  Nicolas D. Muzin, et al.,                    )
                            Defendant                          )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants Nicolas D. Muzin and Stonington Strategies LLC                                                    .


Date:          11/01/2021                                                            /s/ Krystal B. Swendsboe
                                                                                         Attorney’s signature


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